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                                     EXHIBIT A




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                          RMH FRANCHISE HOLDINGS, INC., et al.
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                      INDEX OF FIRST INTERIM FEE APPLICATIONS

A.       Young Conaway Stargatt & Taylor, LLP [D.I. 606, 10/5/18]

         1.      First Monthly Application of Young Conaway Stargatt & Taylor, LLP for
                 Allowance of Compensation for Services Rendered and Reimbursement of
                 Expenses as Co-Counsel to the Debtors for the Period from May 8, 2018 through
                 May 31, 2018 [D.I. 253, 6/18/18]

         2.      Certificate of No Objection [D.I. 324, 7/10/18]

         3.      Second Monthly Application of Young Conaway Stargatt & Taylor, LLP for
                 Allowance of Compensation for Services Rendered and Reimbursement of
                 Expenses as Co-Counsel to the Debtors for the Period June 1, 2018 through June
                 30, 2018 [D.I. 418, 8/2/18]

         4.      Limited Objection of Bank of America, N.A. to Second Monthly Fee Application
                 of Young Conaway Stargatt & Taylor, LLP [D.I. 479, 8/22/18]

         5.      Certification of Counsel [D.I. 499, 8/29/18]

         6.      Third Monthly Application of Young Conaway Stargatt & Taylor, LLP for
                 Allowance of Compensation for Services Rendered and Reimbursement of
                 Expenses as Co-Counsel to the Debtors for the Period from July 1, 2018 through
                 July 31, 2018 [D.I. 486, 8/23/18]

         7.      Certificate of No Objection [D.I. 552, 9/18/18]

         8.      Fourth Monthly Application of Young Conaway Stargatt & Taylor, LLP for
                 Allowance of Compensation for Services Rendered and Reimbursement of
                 Expenses as Co-Counsel to the Debtors for the Period from August 1, 2018
                 through August 31, 2018 [D.I. 587, 10/1/18]

         9.      Limited Objection of Bank of America, N.A. to Fourth Monthly Fee Application
                 of Young Conaway Stargatt & Taylor, LLP [D.I. 671, 10/22/18]

         10.     Supplement to First Interim Fee Application of Young Conaway Stargatt &
                 Taylor, LLP [D.I. 674, 10/2218]

         11.     Certification of Counsel [D.I. 697, 10/31/18]

         12.     Fee Examiner’s Final Report Regarding First Interim Fee Application of Young
                 Conaway Stargatt & Taylor, LLP [D.I. 672, 10/22/18]




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B.       Witmer, Karp,Warner & Ryan LLP [D.I. 606, 10/5/18]

         1.      First Monthly Fee Application of Witmer, Karp, Warner & Ryan LLP for
                 Compensation Earned and Expenses Incurred as Special Litigation Counsel to the
                 Debtors for the Period from June 8, 2018 through June 30, 2018 [D.I. 433, 8/7/18]

         2.      Certificate of No Objection [D.I. 496, 8/28/18]

         3.      Second Monthly Fee Application of Witmer, Karp, Warner & Ryan LLP for
                 Compensation Earned and Expenses Incurred as Special Litigation Counsel to the
                 Debtors for the Period from July 1, 2018 through July 31, 2018 [D.I. 515,
                 8/31/18]

         4.      Certificate of No Objection [D.I. 561, 9/21/18]

         5.      Third Monthly Fee Application of Witmer, Karp, Warner & Ryan LLP for
                 Compensation Earned and Expenses Incurred as Special Litigation Counsel to the
                 Debtors for the Period from August 1, 2018 through August 31, 2018 [D.I. 580,
                 9/28/18]

         6.      Certificate of No Objection [D.I. 665, 10/19/18]

         7.      Supplement to First Interim Fee Application of Witmer, Karp, Warner & Ryan,
                 LLP [D.I. 673, 10/22/18]

         8.      Fee Examiner’s Final Report Regarding First Interim Fee Application Request of
                 Witmer, Karp, Warner & Ryan LLP [D.I. 721, 11/6/18]

C.       Prime Clerk [D.I. 606, 10/5/18]

1.       First Monthly Application of Prime Clerk LLC for Allowance of Compensation for
         Services Rendered and Reimbursement of Expenses as Administrative Advisor for the
         Debtors for the Period from May 8, 2018 through June 30, 2018 [D.I. 389, 7/25/18]

2.       Certificate of No Objection [D.I. 476, 8/21/18]

3.       Second Monthly Application Prime Clerk LLC for Allowance of Compensation for
         Services Rendered and Reimbursement of Expenses as Administrative Advisor for the
         Debtors for the Period from May 8, 2018 through June 30, 2018 [D.I. 483, 8/23/18]

4.       Certificate of No Objection [D.I. 564, 9/25/18]

5.       Fee Examiner’s Final Report Regarding First Interim Fee Application Request of Prime
         Clerk LLC [D.I. 657, 10/16/18]




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D.       Kelley Drye & Warren LLP [D.I. 649, 10/15/18]

1.       First Monthly Fee Application of Kelley Drye & Warren LLP as Lead Counsel to the
         Official Committee of Unsecured Creditors of RMH Franchise Holdings, Inc. for
         Allowance of Compensation for Services Rendered and Reimbursement of Expenses for
         the Period from May 24, 2018 through June 30, 2018 [D.I. 423, 8/3/18]

2.       Limited Objection of Bank of America, N.A. to First Monthly Fee Application of Kelley
         Drye & Warren LLP [D.I. 485, 8/23/18]

3.       Certificate of No Objection [D.I. 549, 9/17/18]

4.       Second Monthly Fee Application of Kelley Drye & Warren LLP as Lead Counsel to the
         Official Committee of Unsecured Creditors of RMH Franchise Holdings, Inc. for
         Allowance of Compensation for Services Rendered and Reimbursement of Expenses for
         the Period from July 1, 2018 through July 31, 2018 [D.I. 534, 9/10/18]

5.       Limited Objection of Bank of America, N.A. to Second Monthly Fee Application of
         Kelley Drye & Warren LLP [D.I. 583, 10/1/18]

6.       Certification of Counsel [D.I. 643, 10/15/18]

7.       Third Monthly Fee Application of Kelley Drye & Warren LLP as Lead Counsel to the
         Official Committee of Unsecured Creditors of RMH Franchise Holdings, Inc. for
         Allowance of Compensation for Services Rendered and Reimbursement of Expenses for
         the Period from August 1, 2018 through August 31, 2018 [D.I.°571, 9/26/18]

8.       Limited Objection of Bank of America, N.A. to Third Monthly Fee Application of Kelley
         Drye & Warren LLP [D.I. 654, 10/16/18]

9.       Certification of Counsel [D.I. 713, 11/5/18]

10.      Fee Examiner’s Final Report Regarding First Interim Fee Application Request of Kelley
         Drye & Warren LLP [D.I. 685, 10/26/18]

E.       Bayard, P.A. [D.I. 650, 10/15/18]

1.       First Monthly Application for Compensation and Reimbursement of Expenses of Bayard,
         P.A., as Co-Counsel to the Official Committee of Unsecured Creditors for the Period
         from May 24, 2018 through June 30, 2018 [D.I. 431, 8/6/18]

2.       Limited Objection of Bank of America, N.A. to First Monthly Fee Application of Bayard,
         P.A. [D.I. 493, 8/27/18]

3.       Certificate of No Objection [D.I. 550, 9/17/18]




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4.       Second Monthly Application for Compensation and Reimbursement of Expenses of
         Bayard, P.A., as Co-Counsel to the Official Committee of Unsecured Creditors for the
         Period from July 1, 2018 through July 31, 2018 [D.I. 535, 9/10/18]

5.       Limited Objection of Bank of America, N.A. to Second Monthly Fee Application of
         Bayard, P.A. [D.I. 584, 10/1/18]

6.       Certification of Counsel [D.I. 644, 10/15/18]

7.       Third Monthly Application for Compensation and Reimbursement of Expenses of
         Bayard, P.A., as Co-Counsel to the Official Committee of Unsecured Creditors for the
         Period from August 1, 2018 through August 31, 2018 [D.I. 579, 9/28/18]

8.       Limited Objection of Bank of America, N.A. to Third Monthly Fee Application of
         Bayard, P.A. [D.I. 656, 10/16/18]

9.       Certification of Counsel [D.I. 715, 11/5/18]

10.      Revised Exhibit B to First Interim Fee Application of Bayard P.A. [D.I. 722, 11/6/18]

11.      Fee Examiner’s Final Report Regarding First Interim Fee Application Request of Bayard,
         P.A. [D.I. 670, 10/22/18]

F.       Zolfo Cooper, LLC [D.I. 651, 10/15/18]

1.       First Monthly Application for Compensation and Reimbursement of Expenses of Zolfo
         Cooper, LLC, as Bankruptcy Consultant and Financial Advisor to the Official Committee
         of Unsecured Creditors for the Period from May 31, 2018 through June 30, 2018 [D.I.
         429, 8/6/18]

2.       Limited Objection of Bank of America, N.A. to First Monthly Fee Application of Zolfo
         Cooper, LLC [D.I. 492, 8/27/18]

3.       Certificate of No Objection [D.I. 551, 9/17/18]

4.       Second Monthly Application for Compensation and Reimbursement of Expenses of Zolfo
         Cooper, LLC, as Bankruptcy Consultant and Financial Advisor to the Official Committee
         of Unsecured Creditors for the Period from July 1, 2018 through July 31, 2018 [D.I. 536,
         9/10/18]

5.       Limited Objection of Bank of America, N.A. to Second Monthly Fee Application of
         Zolfo Cooper, LLC [D.I. 585, 10/1/18]

6.       Certification of Counsel [D.I. 645, 10/15/18]




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7.       Third Monthly Application for Compensation and Reimbursement of Expenses of Zolfo
         Cooper, LLC, as Bankruptcy Consultant and Financial Advisor to the Official Committee
         of Unsecured Creditors for the Period from August 1, 2018 through August 31, 2018
         [D.I. 572, 9/26/18]

8.       Limited Objection of Bank of America, N.A. to Third Monthly Fee Application of Zolfo
         Cooper, LLC [D.I. 655, 10/16/18]

9.       Certification of Counsel [D.I. 714, 11/5/18]

10.      Fee Examiner’s Final Report Regarding First Interim Fee Application Request of Zolfo
         Cooper LLC [D.I. 800, 11/21/18]




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